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                                                         7
                                                         8                        UNITED STATES DISTRICT COURT
  LLP
                   300 SOUTH GRAND AVENUE, SUITE 1300




                                                         9        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                      LOS ANGELES, CALIFORNIA 90071
HURRELL CANTRALL
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                                                        10
                                                        11 KENNETH EARL MOORE,                            CASE NO. 2:19-cv-08946-DSF(JPRx)
                                                        12               Plaintiff,                       [Assigned to Judge Dale S. Fischer,
                                                                                                          Courtroom “7D”]
                                                        13        v.
                                                                                                          DECLARATION OF DIANE
                                                        14 CERRITOS, DEPUTY SHERIFF, LOS                  MARTINEZ, ESQ. IN SUPPORT OF
                                                           ANGELES COUNTY SHERIFF                         DEFENDANTS SERGEANT INDIA
                                                        15 DEPARTMENT, and INEZ,                          INEZ AND DEPUTY JESSE
                                                           SERGEANT, LOS ANGELES                          CERRITOS’ JOINT MOTION TO
                                                        16 COUNTY SHERIFF DEPARTMENT,                     DISMISS FOR FAILURE TO
                                                                                                          PROSECUTE
                                                        17               Defendants.
                                                                                                          Filed Concurrently With:
                                                        18                                                   1. Defendants’ Motion to Dismiss
                                                                                                                for Failure to Prosecute
                                                        19
                                                                                                          DATE: July 12, 2021
                                                        20                                                TIME: 1:30 9.m.
                                                                                                          DEPT.: “7D”
                                                        21
                                                                                                          Action Filed:   10/17/19
                                                        22                                                FAC Filed:      01/13/20
                                                                                                          SAC Filed:      10/26/20
                                                        23                                                TAC Filed:      02/07/21
                                                        24
                                                        25                  DECLARATION OF DIANE MARTINEZ, ESQ.
                                                        26 I, Diane Martinez, Esq., declare as follows:
                                                        27        1.     I am an attorney duly licensed to practice before this Court and am a
                                                        28 partner with Hurrell Cantrall LLP, attorneys of record for defendant SERGEANT
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                                                         1 INDIA INEZ (“Sergeant Inez”) herein. The facts set forth herein are of my own
                                                         2 personal knowledge and if sworn I could and would testify competently thereto.
                                                         3         2.    This declaration is made in support of defendant DEPUTY JESSE
                                                         4 CERRITOS (“Deputy Cerritos”), who is represented by Janet Keuper, Esq., and
                                                         5 Sergeant Inez’s Joint Motion to Dismiss for Failure to Prosecute pursuant to Federal
                                                         6 Rules of Civil Procedure, Rule 41(b).
                                                         7         3.    Pursuant to Local Rule 7-3, on April 30, 2021, my office sent a meet
                                                         8 and confer letter, via mail and e-mail, to Plaintiff’s counsel, Keith Altman, Esq.,
                                                         9 regarding Defendants’ Joint Motion to Dismiss for Failure to Prosecute. Attached
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                                                        10 hereto as Exhibit “A” is a true and correct copy of Defendants’ meet and confer
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                                                        11 correspondence and the e-mail.
                                                        12         4.    As set forth in the meet and confer letter, I requested that Mr. Altman
                                                        13 advise of his availability on or before May 7, 2021 in order to discuss the issues
                                                        14 outlined in the letter.
                                                        15         5.    On May 6, 2021, Neda Mohammadzadeh from my office sent a follow-
                                                        16 up email to Mr. Altman regarding Defendants’ meet and confer correspondence.
                                                        17 Attached hereto as Exhibit “B” is a true and correct copy of said email
                                                        18 communication.
                                                        19         6.     To date, Mr. Altman has not responded to Defendants’ meet and
                                                        20 confer correspondence or follow-up e-mail regarding same.
                                                        21         7.    On December 2, 2020, I sent an e-mail to all counsel advising of the
                                                        22 deadline to conduct the Rule 26 Conference of Counsel and my availability. I also
                                                        23 requested that they each provide their availability in order to schedule a time to
                                                        24 conduct the Rule 26 Conference of Counsel. After a series of e-mail exchanges, the
                                                        25 parties agreed to hold the Rule 26 Conference of Counsel on December 16, 2020 at
                                                        26 12:00 p.m. via phone. Attached hereto as Exhibit “C” is a true and correct copy of
                                                        27 these e-mail exchanges.
                                                        28         8.    On December 16, 2020, the parties appeared via telephone for the Rule

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                                                         1 26 Conference of Counsel.
                                                         2        9.     As discussed and agreed to during the Rule 26 Conference of Counsel,
                                                         3 the parties were to serve their respective initial disclosures no later than December
                                                         4 30, 2020.
                                                         5        10.    On December 29, 2020, my office served its initial disclosures on
                                                         6 behalf of Sergeant Inez via mail and e-mail. Attached hereto as Exhibit “D” is a
                                                         7 true and correct copy of the e-mail sent to all counsel with Sergeant Inez’s initial
                                                         8 disclosures included as an attachment.
                                                         9        11.    On December 29, 2020, I circulated a draft version of the Rule 26 Joint
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                      LOS ANGELES, CALIFORNIA 90071




                                                        10 Report along with the Court’s Schedule of Pretrial and Trial Dates (“Exhibit A”) to
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                         TELEPHONE (213) 426-2000




                                                        11 all counsel via e-mail. Attached hereto as Exhibit “E” is a true and correct copy of
                                                        12 the e-mail sent to all counsel with the draft Rule 26 Joint Report included as an
                                                        13 attachment.
                                                        14        12.    On December 30, 2020, Ms. Keuper circulated her revisions and
                                                        15 changes to the Rule 26 Joint Report via e-mail. See attached Exhibit “E.”
                                                        16        13.    After requesting additional time due to his busy schedule, Mr. Altman
                                                        17 circulated his changes and revision to the Rule 26 Joint report on January 4, 2021,
                                                        18 and thereafter filed the Joint report with the Court. Attached hereto as Exhibit “F”
                                                        19 is a true and correct copy of and the e-mails sent by Mr. Altman regarding his
                                                        20 portions of the Rule 26 Joint Report.
                                                        21        14.    On January 14, 2021, Ms. Keuper served her initial disclosures on
                                                        22 behalf of Deputy Cerritos. Attached hereto as Exhibit “G” is a true and correct
                                                        23 copy of the e-mail sent by Ms. Keuper to all counsel with Deputy Cerritos’ initial
                                                        24 disclosures included as an attachment.
                                                        25        15.    On January 15, 2021, after noticing that she did not have Plaintiff’s
                                                        26 initial disclosures, Ms. Keuper e-mailed Mr. Altman inquiring about its
                                                        27 whereabouts. See attached Exhibit “G.”
                                                        28        16.    In response to Ms. Keuper’s e-mail, Mr. Altman advised that he needed

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                                                         1 a few extra days, and that he would serve the initial disclosures by Monday (January
                                                         2 18, 2021). See attached Exhibit “G.”
                                                         3        17.    After still not having received Plaintiff’s initial disclosures, I e-mailed
                                                         4 Plaintiff’s counsel on January 19, 2021 requesting an update on the status of
                                                         5 Plaintiff’s initial disclosures, and requested that he also provide dates in the month
                                                         6 of February for Plaintiff’s deposition. See attached Exhibit “G.”
                                                         7        18.    After not hearing from Plaintiff’s counsel, I sent a follow-up e-mail to
                                                         8 Mr. Altman on January 27, 2021 inquiring as to the status of Plaintiff’s initial
                                                         9 disclosures, and requested that he also provide dates for Plaintiff’s deposition. See
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                                                        10 attached Exhibit “G.”
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                                                        11        19.    On February 3, 2021, Mr. Altman responded and advised that he would
                                                        12 provide “a response in the next couple of days” and “see about depo dates.” See
                                                        13 attached Exhibit “G.”
                                                        14        20.    On February 16, 2021, Ms. Keuper e-mailed Mr. Altman and asked
                                                        15 about the status of his initial disclosures, but received no response. Attached hereto
                                                        16 as Exhibit “H” is a true and correct copy of the e-mail sent by Ms. Keuper and the
                                                        17 conversation that ensued thereafter.
                                                        18        21.    On March 9, 2021, Ms. Keuper e-mailed Mr. Altman again following
                                                        19 up on the status of his initial disclosures and requesting dates for Plaintiff’s
                                                        20 deposition. See attached Exhibit “H.”
                                                        21        22.    Again, after not hearing from Mr. Altman, Ms. Keuper sent a follow-up
                                                        22 e-mail to Mr. Altman on March 11, 2021 asking about Plaintiff’s initial disclosures
                                                        23 and dates for Plaintiff’s deposition. See attached Exhibit “H.”
                                                        24        23.    That same day, Mr. Altman finally responded and advised that he was
                                                        25 unable to make contact with his client. See attached Exhibit “H.”
                                                        26        24.    On March 19, 2021, my office served Mr. Altman’s office, via mail and
                                                        27 e-mail, with a Notice of Deposition of Plaintiff’s deposition for April 27, 2021.
                                                        28 Attached hereto as Exhibit “I” is a true and correct copy of the e-mail send to all

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                                                         1 counsel with the Notice of Deposition of Plaintiff.
                                                         2         25.   Mr. Altman e-mailed that same day and advised that he was still unable
                                                         3 to make contact with his client, and confirmed that his client was not in custody. I
                                                         4 suggested that the deposition remain on calendar for April 27, 2021 while he
                                                         5 attempted to locate his client. Plaintiff’s counsel then advised that April 27, 2021
                                                         6 would not work for his schedule due to a conflict. See attached Exhibit “I.”
                                                         7         26.   On March 24, 2021, I responded to Plaintiff’s e-mail and requested that
                                                         8 he provide alternative dates that worked with his schedule in order to re-notice
                                                         9 Plaintiff’s deposition. I also asked Mr. Altman if he was able to locate his client.
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                                                        10 See attached Exhibit “I.”
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                                                        11         27.   After not receiving a response to my e-mail from Mr. Altman, Ms.
                                                        12 Keuper sent a follow-up e-email on April 14, 2021. See attached Exhibit “I.”
                                                        13         28.   That same day, Mr. Altman finally responded advising that he was still
                                                        14 unable to make contact with his client. See attached Exhibit “I.”
                                                        15         29.   To date, Mr. Altman has not (1) served his initial disclosures; (2)
                                                        16 advised whether he has been able to locate his client; or (3) provided alternative
                                                        17 dates for Plaintiff’s deposition.
                                                        18         I declare under penalty of perjury under the laws of the United States of
                                                        19 America that the foregoing is true and correct.
                                                        20         Executed on June 1, 2021, at Los Angeles, California.
                                                        21
                                                        22                                             /s/ Diane Martinez
                                                                                                       Diane Martinez
                                                        23
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